        On December 13, 2024, Carter’s attorney filed an additional letter alerting the Court to a
recently published interview of Plaintiff on NBC News. ECF Nos. 46, 46-1; see also ECF No.
52. In the interview, Plaintiff, speaking anonymously, explained her allegations against
Defendants and her reasons for coming forward now. See generally ECF No. 46-1. Carter’s
lawyer points to the interview—in which Plaintiff admitted to inconsistencies in her story—as
evidence that Plaintiff’s claims have “no factual basis whatsoever.” ECF No. 46 at 2. He also
argues that Plaintiff’s counsel violated Federal Rule of Civil Procedure 11(b) by “fail[ing] to
undertake a reasonable inquiry into the facts before filing the complaint” and failing to seek
admission pro hac vice to this Court. Id. Carter’s attorney requested an expedited briefing
schedule for a motion to strike the first amended complaint under Federal Rules of Civil
Procedure 11(c)(2) and 12(f).1 Id. at 3.

        The next day, Carter’s counsel submitted yet another filing: a motion for an emergency
order directing the preservation of evidence and striking the amended complaint under Rule
12(f). ECF Nos. 47–49.

        I.       Motion to Proceed Anonymously

        In deciding whether a plaintiff may proceed anonymously, courts balance “the plaintiff’s
interest in anonymity” against “both the public interest in disclosure and any prejudice to the
defendant.” Sealed Plaintiff v. Sealed Defendant, 537 F.3d 185, 189 (2d Cir. 2008). The Second
Circuit has laid out a non-exhaustive list of factors to be considered:

        (1)    whether the litigation involves matters that are highly sensitive and of a
               personal nature;
        (2)    whether identification poses a risk of retaliatory physical or mental harm to
               the party seeking to proceed anonymously or even more critically, to innocent
               non-parties;
        (3)    whether identification presents other harms and the likely severity of those
               harms, including whether the injury litigated against would be incurred as a
               result of the disclosure of the plaintiff’s identity;
        (4)    whether the plaintiff is particularly vulnerable to the possible harms of
               disclosure, particularly in light of h[er] age;
        (5)    whether the suit is challenging the actions of the government or that of private
               parties;
        (6)    whether the defendant is prejudiced by allowing the plaintiff to press h[er]
               claims anonymously, whether the nature of that prejudice (if any) differs at
               any particular stage of the litigation, and whether any prejudice can be
               mitigated by the district court;
        (7)    whether the plaintiff’s identity has thus far been kept confidential;
        (8)    whether the public’s interest in the litigation is furthered by requiring the
               plaintiff to disclose h[er] identity;


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 Plaintiff’s lawyer has since responded, arguing that a Rule 11 motion would not be appropriate here. See generally
ECF No. 50.
                                                        2
       (9)  whether, because of the purely legal nature of the issues presented or
            otherwise, there is an atypically weak public interest in knowing the litigants’
            identities; and
       (10) whether there are any alternative mechanisms for protecting the
            confidentiality of the plaintiff.

Id. at 190 (cleaned up) (citations omitted). A court “is not required to list each of the factors or
use any particular formulation as long as it is clear that the court balanced the interests at stake in
reaching its conclusion.” Id. at 191 n.4.

        Here, the weight of the factors tips in favor of allowing Plaintiff to remain anonymous, at
least for this stage of the litigation.

        Factors 1, 2, 4, and 7 weigh strongly in favor of anonymity. In her amended complaint,
Plaintiff alleges that Defendants drugged and raped her when she was only thirteen. Am. Compl.
¶¶ 49–60. Courts in this District have recognized that allegations concerning sexual assault are
“highly sensitive” and “of an extremely personal nature.” Doe v. Skyline Autos. Inc., 375 F.
Supp. 3d 401, 505 (S.D.N.Y. 2019); see, e.g., Doe 3 v. Indyke, No. 24 Civ. 1204, 2024 WL
4299757, at *3 (S.D.N.Y. Sept. 26, 2024); Doe v. Townes, No. 19 Civ. 8034, 2020 WL 2395159,
at *3 (S.D.N.Y. May 12, 2020). Plaintiff is “particularly vulnerable to the possible harms of
disclosure,” Sealed Plaintiff, 537 F.3d at 190: according to her amended complaint, she
continues to experience depression, post-traumatic stress disorder, and a seizure disorder
associated with the stress of her sexual assault, Am. Compl. ¶ 61; see also Indyke, 2024 WL
4299757, at *2 (denying disclosure in part because of the risk it posed to Plaintiff’s “already
fragile mental health”). Moreover, Plaintiff’s counsel asserts that many of his other clients who
have filed similar lawsuits against Sean Combs claim to have been threatened by Mr. Combs for
their decision to speak out. ECF No. 33 ¶¶ 5–6. And finally, although Plaintiff sat for an
interview with NBC News concerning her case, NBC allowed her to conduct the interview
anonymously. ECF No. 46-1 at 5.

        Granted, several factors weigh against allowing Plaintiff to proceed anonymously.
Plaintiff is challenging the actions of private parties, not the government, and given the media
attention surrounding this case, the public has a substantial interest in this litigation separate and
apart from its general interest in an accused “being able to publicly confront an accuser.” Doe v.
Combs, No. 23 Civ. 10628, 2024 WL 863705, at *5 (S.D.N.Y. Feb. 29, 2024). Alternative
mechanisms may exist to protect confidentiality, namely, the redaction and sealing of
documents. See Skyline Autos., 375 F. Supp. 3d at 408. Most importantly, Plaintiff’s continued
anonymity may cause prejudice to Defendants, making it more difficult for them to collect the
facts necessary to mount a defense and, as appropriate, challenge Plaintiff’s credibility. Combs,
2024 WL 863705, at *4 (identifying the “most significant form of prejudice to Defendants” as
“the discovery disadvantage that Plaintiff’s anonymity would present”). The Court does not take
such prejudice lightly.

       Nevertheless, at this exceedingly early stage in this case, the factors counseling against
disclosure outweigh those that counsel in favor. Cf. Doe v. Delta Airlines, Inc., 310 F.R.D. 222,
226 (S.D.N.Y. 2015) (requiring the plaintiff to identify herself as the case approached trial).
                                                 3
Accordingly, Plaintiff’s motion to proceed anonymously is GRANTED. Plaintiff is advised that,
because the balance of these factors will certainly shift as this case proceeds, especially if and
when the parties engage in discovery in earnest, the Court intends to revisit this decision at a
future date.

         II.      Remaining Motions

        Since Carter’s attorney first appeared in this case seventeen days ago, he has submitted a
litany of letters and motions attempting to impugn the character of Plaintiff’s lawyer, many of
them expounding on the purported “urgency” of this case. See, e.g., ECF No. 38 at 1–2
(describing Plaintiff’s counsel as “self-promoting” and accusing him of “extort[ion]”); ECF
No. 41 at 1 (requesting to be heard “on an expedited basis” and accusing Plaintiff’s counsel of
“exploiting the legal process to generate media attention”); ECF No. 42 at 1 (asserting that
Plaintiff’s counsel “seeks only to benefit himself”); ECF No. 46 at 3 (requesting the shortening
of a deadline “from 21 days to 1 day”); ECF No. 48 at 11, 15 (describing Plaintiff’s counsel as
willing “to blatantly violate th[e] core ethical obligation[s] of all attorneys” and requesting a
hearing on a motion the following day).

       Carter’s lawyer’s relentless filing of combative motions containing inflammatory
language and ad hominem attacks is inappropriate, a waste of judicial resources, and a tactic
unlikely to benefit his client. The Court will not fast-track the judicial process merely because
counsel demands it.

        Moreover, although Carter’s attorney assails Plaintiff’s lawyer as having a “chronic
inability to follow the rules,” ECF No. 48 at 3, Carter’s counsel has failed to abide by this
Court’s clear rules. Under the Court’s Individual Practices in Civil Cases, and with limited
exceptions, “[a] pre-motion letter is required prior to the filing of any motion.” ¶ 3.A.1.
Although Carter’s attorney stated that he “intend[ed] to file immediately a motion to strike the
first amended complaint under [Rule 12(f)],” ECF No. 46 at 3, he did not give Plaintiff the
requisite five business days to respond, see Individual Practices ¶ 3.A.2., wait for the Court to set
a motion schedule, see id., or state whether any exception to the Court’s Individual Practices
applied, see ECF Nos. 47–49. This is unacceptable.2 Counsel is hereby advised that any further
motions filed in violation of the Court’s Individual Practices may be denied on that ground alone.

        Lastly, although Carter’s attorney is entitled to file a Rule 11 motion without first seeking
leave of court, see Individual Practices ¶ 3.A, the Court discourages this approach. If he still
intends to serve Plaintiff with a motion for sanctions, the Court denies his request to shorten the
safe harbor provision contained within Rule 11(c)(2) from 21 days to 1 day. See ECF No. 46 at
3.



2
 On the merits, Carter’s motion to strike is denied. Motions to strike under Rule 12(f) “are generally disfavored”
and will be granted “only if there is strong reason to do so.” Abdou v. Walker, No. 19 Civ. 1824, 2022 WL
3334700, at *2 (S.D.N.Y. Aug. 12, 2022) (citation omitted). Carter’s motion, which summarily asserts that
Plaintiff’s claims are “baseless” and “salacious,” does not clear that high bar. ECF No. 48 at 14.
                                                         4
       Carter’s motion to strike the amended complaint under Rule 12(f) is DENIED. By
January 10, 2025, Plaintiff shall file her response to Carter’s motion for an order directing the
preservation of evidence. By January 17, 2025, Carter shall file his reply, if any.

       The Clerk of Court is respectfully directed to terminate the motions at ECF Nos. 32, 37,
40–41, and 46.

       SO ORDERED.

Dated: December 26, 2024
       New York, New York




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